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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      1:11cr7-MHT
MONTY ERVIN                        )         (WO)

                                ORDER

    Based upon the representations made in open court on

January 23, 2012, by defendant Monty Ervin, his counsel,

and the government’s counsel and based on the court’s own

personal observations, it is ORDERED and DECLARED that

there is no “reasonable cause” whatsoever to believe that

defendant   Monty    Ervin    is   currently     suffering      from   a

mental   disease      or     defect     rendering     him     mentally

incompetent to the extent that he is unable to understand

the nature and consequences of the proceedings against

him or to assist properly in his defense, 18 U.S.C.

§ 4241(a); see also McNeil v. Director, Patuxant Inst.,

407 U.S. 245, 249 n.3 (1972); nor is there any “bona fide

doubt” whatsoever regarding defendant Ervin’s competency.
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Tiller v. Esposito, 911 F.2d 575, 576 (11th Cir. 1990).

The court makes this finding beyond a reasonable doubt.

    DONE, this the 24th day of January, 2012.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
